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Exhibit P
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RESCISSION AND RELEASE AGREEMENT

a
This Rescission and Release Agreement (“Agreement”), effective as of this .

day of July, 2014, is made between and among AMERICAN GENERAL LIFE INSURANCE
COMPANY (“American General”), the MICHAEL SASONI 2007-1 INSURANCE TRUST
(“2007-1 Insurance Trust’), the MICHAEL SASONI 2007-2 INSURANCE TRUST (“2007-2
Insurance Trust”) (collectively, “the Insurance Trusts”), WILMINGTON SAVINGS FUND
SOCIETY, FSB, as successor in interest to CHRISTIANA BANK & TRUST COMPANY,

solely-in its capacity as trustee of the Insurance Trusts (“Insurance Trustee”),

WHEREAS, American General issued Life Policy UM0044158L insuring the life
of Michael Sasoni in the amount of $10,000,000.00 and Life Policy UM0044159L insuring the
life of Michael Sasoni in the amount of $10,000,000.00 (collectively, “the Policies”);

WHIIREAS, the 2007-1 Insurance Trust is the owner and beneficiary of Policy
Number UM0044158L and Insurance Trustee is the trustee of the 2007-1 Insurance Trust;

WHIEREAS, the 2007-2 Insurance Trust is the owner and beneficiary of Policy

Number UM0044159L and Insurance Trustee is the trustee of the 2007-2 Insurance Trust;

WHEREAS, American General initiated a lawsuit in the Circuit Court of the 11"
Judicial Circuit in and for Miami-Dade County, Florida styled American General Life Insurance

Company v. The Michael Sasoni 2007-1 Insurance Trust, et al. (the “FL Lawsuit’) and the

Ew 6-57

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Insurance Trustee initiated a lawsuit in the United States District Court for the District of
Delaware styled Michael Sasoni 2007-1 Insurance Trust, et al. v. American General Life
Insurance Company (the “DE Lawsuit”) (collectively, “the Lawsuits’);

WHEREAS, the FL Lawsuit was previously dismissed without prejudice in favor
of the DE Lawsuit;

WHEREAS, the Parties desire to amicably compromise and resolve any and all
disputes, controversies, claims and actions between them arising out of, relating to, or
concerning the Policies and the Lawsuits on the terms and conditions herein provided;

NOW, THEREFORE, in consideration of the foregoing recitals and the mutual
promises and covenants hereinafter set forth, the exchange of which the Parties agree and
acknowledge are material terms of this Agreement and constitute good, valuable, and sufficient
consideration, the Parties hereby mutually agree as follows:

1, Rescission of the Policies: In consideration of the releases and other promises

contained herein, the Parties agree that the Policies are rescinded and are void ab initio as though
the Policies had never been issued at all, They understand and agree that neither the Insurance
Trusts, "nor any insured, beneficiary, owner, trust,
settler, grantor, heir, assignee, beneficiary, member, successor in interest, nor any other person or
entity has ever had and never will have any rights under the Policies, whatsoever.

2. Payment: The Parties hereby agree that Ametican General shall make a single
lump sum payment in the amount of $2,175,000 (the “Settlement Payment”), which payment
shall be made within thirty 30) days from receipt by American General of this Rescission and

Release Agreement fully executed by the Insurance Trusts,

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American General acknowledges that it has received fully executed tax Form W-9s. Said

payment will be made by wire transfer pursuant to the following instructions:

American General shall not be obligated to make any further payment to any person or entity
relating to the Policies for any reason. The Settlement Payment shall be net to the Insurance

Trusts and shall not be subject to any set-off, reduction, deduction, offset, or claims of any kind.

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RESCISSION AND RELEASE AGREEMENT
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Notwithstanding the foregoing, American General is not released from its obligations under this
Agreement,

4, Release of the Insurance Trusts, Insurance Trustee,

American General for itself and for its members, associations,
firms, parent companies, affiliates, subsidiaries, and current and former officers, directors,
shareholders, employees, successors, assigns, attorneys, agents, and brokers, hereby forever
releases and discharges the Insurance Trusts, Insurance Trustee,

each for themselves and for their grantors, beneficiaries, heits, successors,
executors, administrators, members, assigns, associations, firms, parent companies, affiliates,
subsidiaries, and current and former officers, directors, shareholders, employees, attorneys,
agents and brokers from every and any manner of claims, action and actions, cause and causes of
action, in law or in equity, known or unknown, existing or which may hereinafter exist, arising
out of, relating to or concerning (i) the Policies; (ii) the Lawsuits; (iii) the application for and/or
issuance of the Policies and/or sale of any interest in the Policies or the Insurance Trusts; (iv)
commissions paid; (v) the rescission of the Policies; (vi) any and all rights of ownership and/or
claims for benefits under the Policies; and (vii) the return of any and all premium monies for the
Policies and/or payment of further premium for the Policies, This release specifically includes
all claims for attorney’s fees and costs. Notwithstanding the foregoing, the Insurance Trusts,
Insurance Trustee, are not released from their

obligations under this Agreement,

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5 Warranty of Authority as to the Insurance Trusts: The Insurance Trusts and

Insurance Trustee each specifically represent and warrant to American General that:

a. Insurance Trustee is the duly appointed trustee of the Insurance Trusts
pursuant to the governing trust agreements,

b, Insurance Trusts are validly existing under the laws of their jurisdiction of
organization;

C The execution, delivery, and performance of this Agreement on behalf of
the Insurance Trusts: (i) are within the power of the Insurance Trusts, the exercise of which by
the Insurance Trustee is duly authorized; (ii) have been duly authorized by all necessary trust
action; (iti) do not contravene any provision of Insurance Trusts’ trust agreements or the
Insurance Trusts’ other organizational documents, or any law or regulation applicable to
Insurance Trusts; and (iv) do not conflict with, violate, create a lien or default under or require a
consent under any document or agreement to which Insurance Trusts are a party or by which
they are bound;

d, Insurance Trusts are the sole owners and beneficiaries of the respective
Policies;

e. Insurance Trusts have the sole and exclusive right to exercise any
incidents of ownership under the Policies and have the sole and exclusive tight to claim death
benefits in the event of Michael Sasoni’s death;

f Insurance Trusts have not sold, transferred, pledged, alienated or
otherwise impaired or encumbered any of their rights as owner ot as beneficiary of the Policies;

and

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g. There are no proceedings in bankruptcy pending or threatened against the
Insurance Trusts, no grounds exist for such a proceeding of which the Insurance Trusts or the
Insurance Trustee is or reasonably should be aware, nor is any property of the Insurance Trusts

subject to any assignment for the benefit of creditors,

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7, Warranty of Authority as to American General American General

specifically represents and warrants to the other Parties that: -

a, American General has not sold transferred, pledged, alienated or otherwise
impaired or encumbered any interest in the Policies or any matters released by American General
as set forth in Paragraph 4, above;

b, The records of American General reflect that Insurance Trusts have full
and exclusive ownership of the Policies and are the sole beneficiaries of the respective Policies;
and

¢, The execution, delivery, and performance of this Agreement on behalf of
American General; (i) are within the power of American General; (ii) have been duly authorized
by all necessary corporate action; (iii) do not contravene any provision of American General’s
organizational documents, or any law or regulation applicable to American General; and (iv) do
not conflict with, violate, create a lien or default under or require a consent under any document
or agreement to which American General is a party or by which it is bound,

8, Additional Warranty as to American General; As part of the Rescission and

Release Agreement, American General warrants and represents to the Parties that it will not

initiate any tort based claims against Steven Wechsler and/or Kevin Bechtel (the “Selling

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RESCISSION AND RELEASE AGREEMENT
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Agents”) or anyone else related to commissions paid under the Policies or for any tort claims
asserted or which could have been asserted in the Lawsuits, American General, however,
expressly reserves the right to initiate an action to enforce all available contractual rights and
remedies it has against the Selling Agents or anyone else related to commissions paid under the
Policies,

9, Remedy For Breach Of Agreement: Each of the Parties understands and agrees
that each provision of this Agreement, including but not limited to each of the representations
and warranties set forth in Paragraphs 5, 6, 7 and 8, constitutes a material term of this

. Agreement, In the event of a breach of any material term of this Agreement by one or more of
the Parties, any Party aggrieved by any such breach may institute suit in the United States
District Court for the District of Delaware against any Party or Patties alleged to be responsible
for such breach, and may seek recovery of any and all damages or any other relief arising out of
the breach against the breaching Party or Parties,

10. Stipwlated Final Judgment on Notie : The Parties agree to file in the DE
Lawsuit a Joint Motion for Entry of an Order of Stipulated Final Judgment on Notice, barring
claims by all parties, persons, or entities, including but not limited to Michael Sasoni and his
family, heirs, beneficiaries and assigns, under the Policies, The Parties agree to jointly file such
motion within 3 business days following receipt of payment referenced in paragraph 2, above.
Such Final Judgment shall provide that each party the DE Lawsuit shall bear its own costs and

attorneys’ fees.

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12, Covenant Not to Sue the Insurance Trust, Insurance Trustee,

American General for itself and for its members,
associations, firms, parent companies, affiliates, subsidiaries, and current and former officers,
directors, shareholders, employees, successors, assigns, attorneys, agents, and brokers covenants
and agrees that it will not at any time, nor should anyone on its behalf, sue or proceed in any
matter at law or in equity, with a suit or action of any kind or nature against the Insurance Trusts,
Insurance Trustee, or any of their grantors,
heirs, beneficiaries, successors, executors, administrators, members, assigns, associations, firms,
parent companies, affiliates, subsidiaries, and current and former officers, directors,
shareholders, employees, attorneys, agents and brokers for or on account of any claim for
benefits, or any other claim arising out of, relating to or concerning the Policies.

13, No Admission: The Parties understand and agree that this Agreement is entered
into solely to settle disputed claims and to avoid further costs in connection with the claims; and

it is not an admission of any liability, wrongdoing, or misrepresentation on the part of any Party

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RESCISSION AND RELEASE AGREEMENT
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or that any Party performed or failed to perform any act in violation of any law, regulation or the

tights of any Party whatsoever, or that the claims asserted in the Lawsuits are valid,

15, Construction & Merger Clause: This Agreement shall not be changed orally

and shall be effective immediately upon notarized signature of all Parties hereto. ‘The Parties
hereto understand and acknowledge that this Agreement constitutes the entire agreement
between the Parties and that there shall be no amendment or modification of any of the terms of
this Rescission and Release Agreement unless it is reduced to writing and signed by the Parties
hereto, Each Party acknowledges and agrees that no representations or promises have been made

to, or relied upon, in connection with the subject matter of this Rescission and Release

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RESCISSION AND RELEASE AGREEMENT
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Agreement that are not specifically set forth herein, All prior representations and promises by
" anyone concerning the Lawsuits or this Rescission and Release Agreement, whether in writing or
oral, are understood. by the Parties to be merged into this Rescission and Release Agreement,
The language of all parts of this Agreement shall be construed as a whole according to its plain
meaning and not strictly construed for or against any Party. The Parties agree that this
Agreement shall be deemed to have been jointly drafted for purposes of applying any rules of
construction,

16. Signatwres: This Agreement may be executed in two ot more counterparts, each
of which shall be deemed an original, but all of which together shall constitute one and the same
instrument, However, should any of the Parties fail to execute this Agreement, this Agreement

- shall be null and void as to all Parties,

17.  Swccessors and Assigns: This Agreement shall bind and inure to the benefit of

and be enforceable by the Parties and their respective successors and assigns.

18, Voluntary Agreement and Right to Counsel: Each Party represents and
warrants that it is represented by legal counsel of its own choice in connection with this
-Agreement, or that it was encouraged to obtain counsel and had ample opportunity to seek
counsel, Each Party represents and warrants that he/she/it has read this-Agreement and
understands the terms used herein. Bach Party has had the opportunity to investigate this matter,
determine the advisability of entering into this Agreement, dnd has entered into this Agreement
freely and voluntarily, and. that each Party agrees to the terms contained herein.

19, ‘Taxation: Each Party acknowledges that no other Party is warranting or

representing any tax consequences of this Agreement, that each is relying on its own legal and/or

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tax advisors, and that each shall assume full responsibility for any and all tax obligations
imposed, due, or owing to. local, state or federal authority,

20. Severability: Ifany portion of this Agreement, other than Paragraphs 1 through 8
of this Agreement, may be held by a court of competent jurisdiction to conflict with any federal,
state or local law, and as a result such portion or portions are declared to be invalicl and of no
force or effect in such jurisdiction, all remaining provisions of this Agreement shall remain in
full force and effect and be construed as if such invalid portion or portions had not been included
herein,

21. Further Assurances: Each Party agrees to execute such further and additional

documents, instruments and writings as are necessary to fully effectuate the terms and provisions
of this Rescission and Release Agreement.

22, Governing Law: This Agreement shall be governed by the laws of the State of

Delaware without giving effect to Delaware choice of law principles.

23, gurisdiction: The United States District Court for the District of Delaware shall
retain jurisdiction over all of the Parties hereto with respect to enforcement of this Agreement
and/or any dispute arising under this Agreement.

IN WITNESS THEREOF, the Parties have executed this Agreement on the

dates written below.

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MICHAEL SASONI 2007-1 INSURANCE TRUST
by WILMINGTON SAVINGS FUND SOCIETY, FSB as

successor in interest to CHRISTIANA BANK & TRUST
COMPANY, as Trustee

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ts OR cer.

Name:
Title:

“STATE OF DELAWARE )

: 88,
COUNTY OF NEW CASTLE )

Personally appeared the above-named _Cerlvic. Cok st: roth: CY"_. who made oath that
the execution of this document is his own free act and Mic, this _<_ day of. AU: Ln 2014,

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MICHAEL SASONI 2007-2 INSURANCE TRUST
by WILMINGTON SAVINGS FUND SOCIETY, FSB as
successor in interest to CHRISTIANA BANK & TRUST

COMPANY, as Trustee

Byte Qerhteedt “6
Name: __ Cedric Strother
Title; Lust Officer

STATE OF DELAWARE. )
> SS,

COUNTY OF NEW CASTLE)

Personally appeared the above-named Cedric. Strother who made oath that
the execution of this document is his own free act and deed this 2 day of_, /ul ly 2014,

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AMERICAN GENERAL LIFE INSURANCE COMPANY

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Tile: VP Abra. Camarnd Canine tnd

STATE OF )
1 88,
COUNTY OF )

Personally appeared the above-named “TVs lel. dul RS who made oath that
the execution of this docunrent ia his own free act and deed this 3 “day of uy bf 2014,

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My Qommisston Exptran | sslon explies:
imuuy2n,20t0 My Commission expires:

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